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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


DR. DOROTHY NAIRNE, JARRETT
LOFTON, REV. CLEE EARNEST LOWE, DR.
ALICE WASHINGTON, STEVEN HARRIS,
ALEXIS CALHOUN, BLACK VOTERS
MATTER CAPACITY BUILDING
INSTITUTE, and THE LOUISIANA STATE
CONFERENCE OF THE NAACP,                           CIVIL ACTION NO. 3:22-cv-00178
                                                   SDD-SDJ
                            Plaintiffs,

       v.

R. KYLE ARDOIN, in his official capacity as
Secretary of State of Louisiana

                            Defendant.



******************************************************************************
                                   ORDER

       Considering the foregoing Motion to Enroll Counsel filed by Counsel for Defendant,

          IT IS ORDERED that the motion is GRANTED enrolling Amanda M. LaGroue as

additional counsel of record for Defendant, State of Louisiana, through Attorney General Jeff

Landry.

       READ SIGNED AND DATED this ____ day of ___________ , 2023 in Baton Rouge,

Louisiana.




                      ________________________________________
                                          Judge
                               United States District Court
                               Middle District of Louisiana
